    Case 1:13-cv-02575-GBD-JCF Document 81 Filed 10/16/15 Page 1 of 24



UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
- - - - - - - - - - - - - - - - - -:
SECURITIES AND EXCHANGE COMMISSION,: 13 Civ. 2575 (GBD) (JCF)
                                   :
               Plaintiff,          :          REPORT AND
                                   :       RECOMMENDATION
     - against -                   :
                                   :
GIBRALTAR GLOBAL SECURITIES, INC. :
and WARREN A. DAVIS,               :
                                   :
               Defendants.         :
- - - - - - - - - - - - - - - - - -:
TO THE HONORABLE GEORGE B. DANIELS, U.S.D.J.:

     This is an action brought by the Securities and Exchange

Commission (the “SEC”) alleging various violations of the federal

securities laws.       The SEC asserts that between March 2008 and

August 2012, Gibraltar Global Securities, Inc. (“Gibraltar”), a

Bahamian company under the direction of its president and sole

shareholder, Warren A. Davis, operated as an offshore, unregistered

broker-dealer in violation of 15 U.S.C. §§ 78o(a)(1) and 78t(a)

(the “Section 15 claims”).         The SEC further alleges that the

defendants   engaged    in   the   sale   of   millions   of   shares    of

unregistered stock in a company called Magnum d’Or in violation of

15 U.S.C. §§ 77e(a) and 77e(c) (the “Section 5 claims”).

     On July 2, 2015, the Honorable George B. Daniels, U.S.D.J.,

granted judgment by default for the SEC and referred the case to me

for a calculation of damages.      (Order dated July 2, 2015).     I held

an inquest on September 18, 2015; the defendants did not appear.

Accordingly, the following findings are based on evidence the SEC

presented at the hearing and information it submitted beforehand.

For the reasons set forth below, I recommend that the defendants be


                                    1
    Case 1:13-cv-02575-GBD-JCF Document 81 Filed 10/16/15 Page 2 of 24



held liable, jointly and severally, for disgorgement in the amount

of $14,449,176 and for prejudgment interest in the amount of

$2,700,443.    I further recommend that a tier two civil penalty be

entered against each defendant in the amount of $3,667,146.

Background

     From    approximately    March   2008     through     August    2012,   the

defendants operated as unregistered broker-dealers, offering their

customers -- many of whom resided in the United States -- a means

to engage in securities transactions anonymously and without paying

taxes on their profits.       (Complaint, ¶ 1).          During the relevant

period, Gibraltar maintained a website that encouraged customers to

establish brokerage accounts with the defendants by offering a

variety   of    brokerage    services,    as   well   as    confidentiality,

protection against asset seizure, and tax avoidance.                (Complaint,

¶¶ 15-16).     For example, Gibraltar advertised the ability to form

international business corporations (“IBCs”) with nominee officers

and directors, thereby allowing customers to trade through their

IBCs without disclosing their identities.          (Complaint, ¶¶ 1, 19).

To enable customers to avoid U.S. taxes, Mr. Davis submitted

withholding forms to brokers in the U.S. that falsely certified

that Gibraltar -- a non-U.S. entity exempt from withholding -- was

the beneficial owner of the income generated from its transactions.

(Complaint, ¶ 20).

     The defendants’ illegal operation functioned as follows.

First, Gibraltar received from its customers “shares of low-priced,

thinly-traded stock.” (Complaint, ¶ 21). Next, Gibraltar retitled


                                      2
       Case 1:13-cv-02575-GBD-JCF Document 81 Filed 10/16/15 Page 3 of 24



the shares in its name and deposited them in accounts it maintained

with    brokers     in    the     U.S.     (Complaint,        ¶   21-22).       Gibraltar

customers could then convey sell orders to the defendants, who

conveyed        those    orders    to     their   U.S.       brokers,    who    sold    the

corresponding stock on the open market.                  (Complaint, ¶ 22).            Once

the U.S. brokers sold the shares, Gibralter instructed them to wire

the proceeds to an account it maintained with the Royal Bank of

Canada     in    the    Bahamas.         (Complaint,     ¶    23).      Finally,     after

deducting its commission of 2-3%, Gibraltar wired the remaining

sale proceeds back to its customers in the U.S. (Complaint, ¶ 23).

Throughout the relevant time period, neither Gibraltar nor Mr.

Davis were registered as brokers with the SEC as required by 15

U.S.C. § 78o(a)(1).           (Complaint, ¶ 8).

        The     defendants’     legal     transgressions          did   not    end   there.

Starting in November 2008 and continuing through September 2009,

Dwight Flatt, David Della Sciucca, and Shannon Allen (referred to

collectively in the complaint as “the Flatt nominees”) deposited

over 11 million shares of stock in a company called Magnum d’Or

(“Magnum”) in accounts they held with Gibraltar.                         (Complaint, ¶¶

10-14, 25).         Gibraltar retitled the Magnum shares -- which the

Flatt nominees had acquired directly from the issuer -- in its own

name and deposited them in four accounts it maintained with U.S.

brokers.         (Complaint, ¶¶ 25-26).             Between November 2008 and

December 2009, the defendants sold over 10 million shares of Magnum

stock through their U.S. brokers, generating total proceeds of

$11,384,589.           (Complaint, ¶ 27).         The defendants never filed a


                                             3
     Case 1:13-cv-02575-GBD-JCF Document 81 Filed 10/16/15 Page 4 of 24



registration statement with the SEC in connection with any sale of

Magnum stock.       (Complaint, ¶ 28).      As described above, the U.S.

brokers then wired the proceeds from these sales to Gibraltar’s

account in the Bahamas.         (Complaint, ¶ 29).       Gibraltar eventually

wired   approximately        $7.175   million    directly   back   to   Magnum.

(Complaint, ¶ 29).

      In light of these violations, the SEC seeks disgorgement of

the defendants’ profits, including prejudgment interest, and a

civil monetary penalty to be imposed against each defendant.

(Memorandum in Support of Securities and Exchange Commission Motion

for a Sanction of Default Judgment and Related Remedies Against

Defendants Gibraltar Global Securities, Inc. and Warren Davis (“Pl.

Memo.”) at 1).

Discussion
      A. Liability

      Where a defendant has defaulted, all of the facts alleged in

the complaint, except those relating to the amount of damages, must

be accepted as true.     See Greyhound Exhibitgroup, Inc. v. E.L.U.L.

Realty Corp., 973 F.2d 155, 158 (2d Cir. 1992); see also City of
New York v. Mickalis Pawn Shop, LLC, 645 F.3d 114, 137 (2d Cir.

2011) (“It is an ‘ancient common law axiom’ that a defendant who

defaults thereby admits all ‘well-pleaded’ factual allegations

contained in the complaint.” (quoting Vermont Teddy Bear Co. v. 1-

800 Beargram Co., 373 F.3d 241, 246 (2d Cir. 2004))). Nonetheless,

a   court   “must    still    satisfy   itself    that    the   plaintiff   has

established a sound legal basis upon which liability may be


                                        4
     Case 1:13-cv-02575-GBD-JCF Document 81 Filed 10/16/15 Page 5 of 24



imposed.”     Jemine v. Dennis, 901 F. Supp. 2d 365, 373 (E.D.N.Y.

2012).      The    SEC   asserts    two       causes    of    action   against    the

defendants.       The facts alleged establish the defendants’ liability

on both counts.

             1.    Mr. Davis’ Liability

      The SEC alleges that Mr. Davis “is the founder, president and

sole owner of Gibraltar” and that during the relevant period he,

“directly     or    indirectly,    controlled          Gibraltar’s     activities.”

(Complaint, ¶ 9).        Because the SEC’s theory for holding Mr. Davis

liable under § 78o(a)(1) differs from its theory of his liability

under § 77e, it is useful to address each theory at the outset.

      Pursuant to 15 U.S.C. § 78t(a), anyone who “directly or

indirectly,       controls   any   person      liable”       under   the   Securities

Exchange Act of 1934 (the “1934 Act”) or its regulations is liable

to   the    same    extent   as    the    controlled         person,   “unless    the

controlling person acted in good faith and did not directly or

indirectly induce the act or acts constituting the violation.”1                    To

establish “control person” liability, a plaintiff must show, at the

very least, “(1) a primary violation by the controlled person and
(2) control of the primary violator by the defendant.”                        Special

Situations Fund III QP, L.P. v. Deloitte Touche Tohmatsu CPA, Ltd.,

33 F. Supp. 3d 401, 437 (S.D.N.Y. 2014).

      With respect to the first element, I address below Gibraltar’s

liability under the 1934 Act as the controlled person.                      Regarding


      1
       As used in the statute, “person” includes a company.                        15
U.S.C. § 78c(a)(9).

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    Case 1:13-cv-02575-GBD-JCF Document 81 Filed 10/16/15 Page 6 of 24



the second element, as the founder, president, and sole owner of

Gibraltar, Mr. Davis undoubtedly had control over that entity. See

Dietrich v. Bauer, 126 F. Supp. 2d 759, 765 (S.D.N.Y. 2001)

(“[O]wnership     strongly   suggests   that   the   defendant   has     the

potential power to influence and direct the activities of the

wrongdoer.”).    Indeed, the complaint indicates that Mr. Davis was

responsible for authorizing Gibraltar employees to place trades in

the U.S.     (Complaint, ¶ 9).

     The Second Circuit has repeatedly stated that liability under

§   78t(a)    further   requires   “culpable   participation”     by     the

controlling person in the illegal conduct.       See Special Situations
Fund, 33 F. Supp. 3d at 438 (collecting cases).2           To the extent

     2
       Not only is the precise import of the phrase “culpable
participation” unclear, see In re Philip Services Corp. Securities
Litigation, 383 F. Supp. 2d 463, 486 (S.D.N.Y. 2004) (“[D]istrict
courts in the Circuit are split as to what exactly the phrase
means.”), but its applicability to the present action is
complicated by the fact that the concept developed in the context
of holding a control person liable for another’s fraud, see 69A Am.
Jur. 2d Securities Regulation-Federal § 1211 (“Some courts require
that, in order to hold liable a person who is deemed to control a
person who commits fraud, it must be established that the
controlling person was a culpable participant in the fraud.”
(emphasis added)); see also Carpenters Pension Trust Fund of St.
Louis v. Barclays PLC, 750 F.3d 227, 236 (2d Cir. 2014) (discussing
culpable participation in the context of control person liability
for fraud); ATSI Communications, Inc. v. Shaar Fund, Ltd., 493 F.3d
87, 108 (2d Cir. 2007) (same); Boguslavsky v. Kaplan, 159 F.3d 715,
720 (2d Cir. 1998)(same); SEC v. First Jersey Securities, Inc., 101
F.3d 1450, 1472 (2d Cir. 1998) (same); Lanza v. Drexel & Co., 479
F.2d 1277, 1299 (2d Cir. 1973) (arguing that the control person
provision in the statute was intended to “impose liability only on
those [control persons] . . . who are in some meaningful sense
culpable participants in the fraud perpetrated by controlled
persons” (emphasis added)).       Indeed, much of the confusion
surrounding the meaning of “culpable participation” has to do with
how the phrase relates to the heightened pleading standards
required in actions alleging fraud. See, e.g., Mishkin v. Ageloff,
No. 97 Civ. 2690, 1998 WL 651065, at *22-25 (S.D.N.Y. Sept. 23,

                                    6
       Case 1:13-cv-02575-GBD-JCF Document 81 Filed 10/16/15 Page 7 of 24



that     the    SEC    is   required   to       establish   Mr.   Davis’    culpable

participation          in   Gibraltar’s     §     78o(a)(1)   violation,     it   is

sufficient that he both established Gibraltar’s brokerage accounts

in the U.S. and authorized Gibraltar (through its employees) to

place trades. (Complaint, ¶ 9).

        To establish Mr. Davis’ liability for the Section 5 claims,

the SEC does not rely on a theory of control person liability.

Instead, the SEC would hold Mr. Davis directly liable under the

statute, which requires only that the defendant be “a necessary and

substantial participant in the unregistered sale[]” of securities.

SEC v. Verdiramo, 890 F. Supp. 2d 257, 271 (S.D.N.Y. 2011).                       The

SEC’s allegations (described in detail below) concerning Mr. Davis’

involvement in the unregistered sale of Magnum stock satisfy that

standard.

               2.     Section 15 Claims

        Section 15(a)(1) of the 1934 Act, 15 U.S.C. § 78o(a)(1), makes

it unlawful for (1) an unregistered (2) broker or dealer (3) to

make use of the mails or any means or instrumentality of interstate

commerce (4) to effect any transactions in, or to induce or attempt
to induce the purchase or sale of, any security.                    No showing of

scienter       is    required   to   establish      a   violation   under    Section

15(a)(1).           SEC v. Aronson, No. 11 Civ. 7033, 2013 WL 4082900, at

*7 (S.D.N.Y. Aug. 6, 2013).


1998) (exploring relationship between culpable participation
requirement and pleading standards for actions alleging fraud).
Because the SEC has sufficiently pled facts that show Mr. Davis’
culpable participation in Gibraltar’s violation, I need not resolve
this lack of clarity in the case law.

                                            7
      Case 1:13-cv-02575-GBD-JCF Document 81 Filed 10/16/15 Page 8 of 24



        At the time the SEC filed its complaint, neither defendant had

ever registered as a broker-dealer.              (Complaint, ¶¶ 8-9, 24).

Between 2008 and 2012, Gibraltar received stock shares from its

customers, retitled the shares in its name, deposited the shares

with U.S. brokers, sold the shares through the U.S. brokers

pursuant to its customers’ instructions, had the sale proceeds

wired to an account maintained at the Royal Bank of Canada, and

then forwarded the proceeds to its customers after deducting a 2-3%

commission.         (Complaint, ¶¶ 21-23).       Accordingly, the SEC has

adequately demonstrated that the defendants are unregistered and

that Gibraltar effected transactions in, or induced the purchase

and     sale   of    securities.       Therefore,   the   first    and   fourth

requirements of the statute are met.

        A “‘broker’ [is] any person engaged in the business of

effecting transactions in securities for the account of others.”

15    U.S.C.   §     78c(a)(4)(A).      Courts    look    at   “regularity   of

participation in securities transactions ‘at key points in the

chain of distribution’” in determining whether a defendant acted as

a broker.       SEC v. StratoComm Corp., 2 F. Supp. 3d 240, 262
(N.D.N.Y. 2014) (quoting Massachusetts Financial Services, Inc. v.

Securities Investor Protection Corp., 411 F. Supp. 411, 415 (D.

Mass.), aff’d, 545 F.2d 754 (1st Cir. 1976); accord SEC v. Hansen,

No. 83 Civ. 3692, 1984 WL 2413, at *10 (S.D.N.Y. April 6, 1984).

Evidence of brokerage activity may include “receiving transaction-

based     compensation    .   .    .   and   possessing   client   funds     and

securities.” SEC v. Margolin, No. 92 Civ. 6307, 1992 WL 279735, at


                                         8
    Case 1:13-cv-02575-GBD-JCF Document 81 Filed 10/16/15 Page 9 of 24



*5 (S.D.N.Y. Sept. 30, 1992); see also 15 David A. Lipton, Broker-

Dealer Regulation § 1:6 (describing various “badges” of broker

status including “effecting transactions for others,” “earning of

a commission,” “[s]olicitation of business,” and “transmission of

funds or securities in conjunction with transactions in such

securities”).       Gibraltar’s    activities,   as   described   in     the

complaint, demonstrate that it acted as a broker as that term is

defined in the statute.

     Interstate commerce is defined in the statute to include

“trade, commerce, transportation, or communication . . . between

any foreign country and any State.”           15 U.S.C. § 78c(a)(17).

Operating from the Bahamas, Gibraltar accepted stock deposits from

U.S. customers, deposited those stocks in U.S. brokerage accounts,

received sell orders from its customers telephonically or through

email, placed those orders with its U.S. brokers, instructed those

brokers to wire sale proceeds to Gibraltar’s account in the

Bahamas, and wired the proceeds back to its U.S. customers after

deducting   their    commission.     These   actions,    alone    and    in

combination, satisfy the interstate commerce element of Section

15(a).   Cf. SEC v. Spinosa, 31 F. Supp. 3d 1371, 1376 (S.D. Fla.
2014) (holding that use of telephone and internet sufficient to

satisfy interstate commerce requirement and collecting authority).

Accordingly, the SEC has established the required elements of the

Section 15(a)(1) claim for both Gibraltar and for its control

person, Mr. Davis.




                                     9
   Case 1:13-cv-02575-GBD-JCF Document 81 Filed 10/16/15 Page 10 of 24



          3.   Section 5 Claims

     “Section 5 [of the Securities Act of 1933, 15 U.S.C. § 77e,]

requires that securities be registered with the SEC before any

person may sell or offer to sell such securities.”                SEC v.

Cavanagh, 445 F.3d 105, 111 (2d Cir. 2006).          The elements of a

Section 5 violation are as follows: “(1) That the defendant

directly or indirectly sold or offered to sell securities; (2) that

no registration statement was in effect for the subject securities;

and (3) that interstate means were used in connection with the

offer or sale.”   SEC v. Universal Express, Inc., 475 F. Supp. 2d
412, 422 (S.D.N.Y. 2007). Scienter is not a required element under

Section 5, and the defendant bears the burden of proving the

applicability of any registration exemption.        SEC v. Czarnik, No.

10 Civ. 745, 2010 WL 4860678, at *11 (S.D.N.Y. Nov. 29, 2010).

     Between November 2008 and September 2009, the Flatt nominees

deposited more than 11 million shares of Magnum stock into accounts

they held with the defendants.      (Complaint, ¶ 25).      More than 10

million of those shares were subsequently retitled in Gibraltar’s

name, deposited (by Mr. Davis) in Gibraltar’s U.S. brokerage
accounts via mail, and then sold (by both Gibraltar and Mr. Davis)

through U.S. brokers between November 2008 and December 2009.

(Complaint, ¶ 26-27).    Gibraltar then instructed the U.S. brokers

to wire the proceeds from those sales ($11,384,589) to its account

with the Royal Bank of Canada in the Bahamas, at which point

Gibraltar wired $7.175 million back to Magnum.       (Complaint, ¶ 29).

No registration statement was filed with the SEC with respect to


                                   10
   Case 1:13-cv-02575-GBD-JCF Document 81 Filed 10/16/15 Page 11 of 24



any of the sales of Magnum d’Or stock effected by the defendants.

(Complaint, ¶ 28; Attestations of Larry Mills dated March 24, 2015,

attached as Exhs. 4 & 5 to Pl. Memo.).

       The facts related above are sufficient to establish that the

defendants   violated     Section   5.    By     retitling    the    shares   in

Gibraltar’s name, transferring the shares to U.S. brokers and

instructing those brokers to sell the shares, the defendants sold

securities within the meaning of Section 5.          Cf. SEC v. Greenstone

Holdings, Inc., No. 10 Civ. 1302, 2012 WL 1038570, at *11 (S.D.N.Y.

March 26, 2012) (“A person not directly engaged in the transfer of

the title of a security can be held liable if he has ‘engaged in

steps necessary to the distribution of [unregistered] security

issues.’”    (alteration    in   original)     (quoting      SEC    v.   Chinese
Consolidated Benevolent Association, Inc., 120 F.2d 736, 741 (2d

Cir.    1941))).    The    securities     were     unregistered      and    were

transferred to the U.S. brokers by mail. Having refused to further

participate in this matter (Order dated July 2, 2015, at 1), the

defendants cannot satisfy their burden of proving the applicability

of any registration exemption.
       B. Damages

       Once it demonstrates liability, a plaintiff must present

evidence that establishes the amount of damages with reasonable

certainty.   See United States v. DiPaolo, 466 F. Supp. 2d 476, 483

(S.D.N.Y. 2006).    Courts, in calculating damages, may make “all

reasonable inferences from the evidence” the plaintiff has offered

to support its demand for a default judgment.             Labarbera v. ASTC


                                     11
      Case 1:13-cv-02575-GBD-JCF Document 81 Filed 10/16/15 Page 12 of 24



Laboratories Inc., 752 F. Supp. 2d 263, 270 (E.D.N.Y. 2010). Based

on the pleadings, the documentary evidence, and the testimony

presented at the inquest, the plaintiff is entitled to a judgment

as follows.

             1. Disgorgement

       “Disgorgement of ill-gotten gains is a congressionally and

judicially recognized remedy for a violation of the securities

law.”     SEC v. Shehyn, No. 04 Civ. 2003, 2010 WL 3290977, at *7

(S.D.N.Y. Aug. 9, 2010) (footnote omitted) (awarding disgorgement

for, inter alia, violation of Section 15); see also SEC v. Tavella,
77 F. Supp. 3d 353, 359-60 (S.D.N.Y. 2015) (awarding disgorgement

for    violation   of   Section   5).        Disgorgement    aims   to   deprive

lawbreakers of all unjust enrichment and, thereby, deter others

from committing similar violations.              SEC v. Universal Express,

Inc., 646 F. Supp. 2d 552, 563 (S.D.N.Y. 2009); see also SEC v.

StratoComm Corp., 89 F. Supp. 3d 357, 367 (N.D.N.Y. 2015).                 While

courts have broad discretion in determining both whether to order

disgorgement and the amount to be disgorged, SEC v. First Jersey

Securities, Inc., 101 F.3d 1450, 1474 (2d Cir. 1996),               in setting
the disgorgement amount, “a court must focus on the extent to which

a defendant has profited from his [illegal conduct],”                Universal

Express, 646 F. Supp. 2d at 563; see also SEC v. Patel, 61 F.3d

137, 139 (2d Cir. 1995) (“[D]isgorgement need only be a reasonable

approximation of profits causally connected to the violation.”

(alteration in original) (quoting SEC v. First City Financial

Corp., 890 F.2d 1215, 1231 (D.C. Cir. 1989))).              Any uncertainty in


                                        12
      Case 1:13-cv-02575-GBD-JCF Document 81 Filed 10/16/15 Page 13 of 24



calculating the defendants’ illicit gains should be resolved in

favor of the plaintiff.      Patel, 61 F.3d at 140.     The plaintiff here

seeks two distinct disgorgement amounts: one amount based on the

Section 15 claims and one amount based on the Section 5 claims.              I

address each in turn.

       Regarding the Section 15(a) violation, the plaintiff argues

for disgorgement of $3,486,867.         (Pl. Memo. at 17).     To arrive at

this figure, the SEC has identified wire transfers from the

defendants to their U.S.-based customers during the relevant period

totaling approximately $116 million.            (Declaration of Gary L.

Peters dated June 11, 2015 (“Peters 6/11/15 Decl.”), ¶ 17).3                The

SEC    plausibly    argues   that   these   transactions     represent      the

defendants’ return of stock sale proceeds to their customers. (Pl.

Memo. at 17).       Based on admissions the defendants made, the SEC

assumes that the defendants earned a 3% commission on these sales.

(Pl. Memo. at 16); see also Wells Submission on Behalf of Warren

Davis and Gibraltar Global Securities, Inc., attached as Exh. 6 to

Pl. Memo., at 2).      Taking 3% of the total outgoing transfers, the

SEC arrives at its disgorgement amount.             Considering that this
amount (1) disregards more than $46 million worth of wire transfers

to customers whose residency could not be determined (Peters

6/11/15 Decl., ¶ 15), and (2) almost certainly undervalues the




       3
       The precise figure, based on a spreadsheet provided by the
SEC, appears to be $116,228,909.52. (See Penalty and Disgorgement
Table, attached as Exh. C to Peters 6/11/15 Decl.).

                                      13
     Case 1:13-cv-02575-GBD-JCF Document 81 Filed 10/16/15 Page 14 of 24



defendants’ profits,4 the SEC’s Section 15 disgorgement calculation

is a reasonable approximation of the defendants’ illicit profits.

Accordingly, the SEC should be awarded the amount of disgorgement

it   requested   in   connection    with   the   defendants’   Section     15

violation, i.e., $3,486,867.

      The basis for the disgorgement amount the SEC requests in

connection with the Section 5 claims is more attenuated but

ultimately also represents a fair approximation of the defendants’

ill-gotten gains.       The amount -- $10,962,309 (Revised Proposed

Findings of Fact and Conclusions of Law Submitted by Plaintiff

Securities and Exchange Commission (“Revised Proposed Findings”),

¶ 25) -- represents the total revenue generated by the defendants’

sale of Magnum stock, less some minor deductions.5          What the SEC’s

figure does not account for is the $7,175,757 that the defendants

wired back to Magnum and its subsidiary.         (Peters 6/11/15 Decl., ¶

23). The SEC would have the Court overlook this transfer and treat

all of the revenue from the illegal sales as the defendants’

profit.     According to the SEC, “[t]he use of proceeds as the

      4
       By the time the defendants wired proceeds back to their
customers they would presumably have already deducted their
commission. As such, the SEC calculated the defendants’ commission
based on a post-commission amount.       Had the SEC based the
defendants’ commission on the pre-commission amount, they would
have come up with profits of $3,594,708 (i.e., 116,228,909.52/.97
x 3%).
      5
       To avoid having the defendants disgorge commissions already
accounted for in the Section 15 calculation, the SEC reduced the
total proceeds by 3%.    (Peters 6/11/15 Decl., ¶ 25).     The SEC
further reduced the requested disgorgement amount by $80,742 to
account for a disgorgement payment it received from one of the
Flatt nominees. (Declaration of Gary L. Peters dated Sept. 9, 2015
(“Peters 9/9/15 Decl.”), ¶¶ 1-3).

                                     14
   Case 1:13-cv-02575-GBD-JCF Document 81 Filed 10/16/15 Page 15 of 24



appropriate measurement of Section 5 disgorgement is supported by

case law.”    (Pl. Memo. at 17-18).      While that may be true, the

SEC’s position conflates two distinct issues: (1) Whether the Court

can treat the total revenue generated from the sale of Magnum stock

as being subject to disgorgement and (2) whether the Court can

order the defendants in this case to disgorge that amount.

     It is well-settled that a disgorgement award should reflect

the amount by which the defendant has enriched himself through

illegal conduct. See SEC v. Inorganic Recycling Corp., No. 99 Civ.

10159, 2002 WL 1968341, at *2 (S.D.N.Y. Aug. 23, 2002) (“The

principal    issue,   therefore,   in   determining     the    amount    of

disgorgement to be ordered is the amount of gain received . . . .”
(emphasis added)).      However, where a defendant fails to come

forward with evidence that distinguishes between his total proceeds

and his net gain, it is within a court’s discretion to use the

amount of proceeds as the appropriate measure of disgorgement. See

SEC v. Platforms Wireless International, Corp., 617 F.3d 1072,

1096-97 (9th Cir. 2010) (“[G]iven this failure of proof from

defendants, it was not an abuse of discretion for the district
court to conclude that the entire proceeds from the sale were a

‘reasonable approximation’ of the profits from the transactions.”);

cf. First City Financial Corp., 890 F.2d at 1232 (shifting to

defendants   burden   of   demonstrating    that   SEC’s      disgorgement

calculation was not reasonable approximation of profit); SEC v.

Johnson, No. 03 Civ. 177, 2006 WL 2053379, at *8 (S.D.N.Y. July 24,

2006) (same).


                                   15
   Case 1:13-cv-02575-GBD-JCF Document 81 Filed 10/16/15 Page 16 of 24



     It does not necessarily follow, however, that these defendants

should be ordered to disgorge all proceeds generated by their sale

of the unregistered Magnum stock. On the one hand, courts have the

discretion to reduce the disgorgement amount by any necessary

transaction costs associated with the illegal conduct.        See SEC v.

McCaskey, No. 98 Civ. 6153, 2002 WL 850001, at *4 (S.D.N.Y. March

26, 2002) (“Courts in this Circuit consistently hold that a court

may, in its discretion, deduct from the disgorgement amount any

direct transaction costs . . . that plainly reduce the wrongdoer’s

actual profit.”). The SEC’s own submissions make it clear that the

majority of the revenue generated by the sale of Magnum stock

“ultimately flowed to Magnum d’Or,”      (Peters 6/11/15 Decl., ¶ 23),

presumably reducing the defendants’ actual profits.         On the other

hand, a court’s discretion to award disgorgement is not limited to

a defendant’s personal pecuniary gain.      See SEC v. Contorinis, 743
F.3d 296, 306 (2d Cir. 2014) (“The amount a court may order a

wrongdoer to disgorge may not exceed the total amount of gain from

the illegal action, but that does not entail that the gain must

personally accrue to the wrongdoer.”), petition for cert. filed,
No. 14-471 (U.S. Oct. 23, 2014); United States Securities and

Exchange Commission v. Universal Express, Inc., 438 F. App’x 23, 26

(2d Cir. 2011) (upholding disgorgement award that included $2.6

million defendant paid to separate entity); SEC v. Tourre, 4 F.

Supp. 3d 579, 590 (S.D.N.Y. 2014) (“The Second Circuit has upheld

the disgorgement of all profits received, even though a portion of

those profits were later transferred to another party . . . .”).


                                   16
      Case 1:13-cv-02575-GBD-JCF Document 81 Filed 10/16/15 Page 17 of 24



Alternatively, courts have discretion to impose joint and several

liability for “combined profits” where, as is the case here, there

are    “collaborating      or    closely       related   parties,”     i.e.,     the

defendants,      Magnum,   and     the     Flatt    nominees.        See   SEC    v.

AbsoluteFuture.com, 393 F.3d 94, 97 (2d Cir. 2004); see also SEC v.

Verdiramo, 907 F. Supp. 2d 367, 373 & n.12 (S.D.N.Y. 2012) (stating

that courts have discretion to impost joint and several liability

for combined profits and collecting cases).

       The indispensable role the defendants played in selling the

unregistered      Magnum    stock,       combined    with   their     refusal    to

participate in discovery (and thereby shed light their relationship

with Magnum and the Flatt nominees), makes it appropriate to hold

them jointly and severally liable for the total proceeds generated

by their illegal conduct.6         Accordingly, based on the evidence the

SEC has offered, I recommend that the defendants be held jointly

and severally liable for a disgorgement judgment of $10,962,309 in

connection with their Section 5 violation.

             2. Prejudgment Interest

       A court’s discretion in fashioning a remedy for violations of
the securities laws includes the discretion to both order the

payment of prejudgment interest and set the rate at which such

interest is calculated.         Tourre, 4 F. Supp. 3d at 591.         This remedy


       6
       Of course, in the event that the defendants actually
disgorge these proceeds, they could seek contribution from other
individuals or entities involved in the scheme. See Steed Finance
LDC v. Laser Advisers, Inc., 258 F. Supp. 2d 272, 277 (S.D.N.Y.
2003) (setting out requirements for stating claim for contribution
under federal securities laws).

                                          17
      Case 1:13-cv-02575-GBD-JCF Document 81 Filed 10/16/15 Page 18 of 24



“ensure[s] that the defendant does not profit [by] obtaining the

time-value of any unlawful profits.”                 SEC v. World Information

Technology, Inc., 590 F. Supp. 2d 574, 578 (S.D.N.Y. 2008).                        In

general, the rate used to calculate prejudgment interest is the IRS

underpayment rate, see 26 U.S.C. § 6621(a)(2), which “reflects what

it    would    have   cost   to   borrow    money    from   the   government     and

therefore reasonably approximates one of the benefits the defendant

derived” from his illegal conduct.                First Jersey Securities, 101

F.3d at 1476.

       The SEC has calculated prejudgment interest separately (and

differently) for each of the disgorgement amounts.                     To calculate

interest for the Section 15 violation, the SEC isolated the

defendants’ commissions on a month-by-month basis and then applied

the interest rate at the end of each month, compounding the

interest on a quarterly basis.                  (Peters 6/11/15 Decl., ¶ 20;

Transcript dated Sept. 18, 2015, at 5-6). This resulted in a total

of $614,995 in prejudgment interest for the Section 15 violation.

For    the    section   5    violation,    the    SEC   simply    took    the   total

disgorgement amount and calculated interest starting on the date of

the last relevant transaction.             (Peters 9/9/15 Decl., ¶ 3).          This

resulted in a total of $2,085,488 in prejudgment interest for the

Section 5 violation. The SEC’s calculations accurately reflect the

value of the “interest free loan” the defendants received by virtue

of their violations. SEC v. Moran, 944 F. Supp. 286, 295 (S.D.N.Y.

1996).        Accordingly, I recommend that the defendants be held

jointly       and   severally     liable    for    $2,700,443     in     prejudgment


                                           18
   Case 1:13-cv-02575-GBD-JCF Document 81 Filed 10/16/15 Page 19 of 24



interest.

            3. Civil Penalties

     The federal securities laws empower courts to impose civil

penalties for violations based on a three-tiered system.           See 15

U.S.C. §§ 77t(d)(2) & 78u(d)(3)(B).       Under any tier, a court has

the authority to impose a penalty equal to the amount of “pecuniary

gain” the defendant received as a result of the violation.7              Id.

Below that amount, the size of the penalty is left to the court’s

discretion.    SEC v. Kern, 425 F.3d 143, 153 (2d Cir. 2005).            The

factors a court may consider in setting the size of the penalty to

impose include:


     7
        As a practical matter, the tier designation for the
defendants’ violations in this case is mostly beside the point, as
their pecuniary gain far exceeds the alternative cap for even the
highest tier (three) violation.     See 15 U.S.C. §§ 77t(d)(2) &
78u(d)(3)(B) (setting alternative cap for tier three violations at
$100,000 for a natural person and $500,000 for any other person).
Moreover, it is not necessarily true that a lower tier penalty
corresponds to a lower penalty amount. Compare SEC v. Jean-Pierre,
No. 12 Civ. 8886, 2015 WL 1054905, at *11-12 (S.D.N.Y. March 9,
2015) (assessing tier two penalty of $1,425,000), and SEC v.
Elliott, No. 09 Civ. 7594, 2012 WL 2161647, at *11 (S.D.N.Y. June
12, 2012) (awarding tier one penalties of $6,500 per transaction in
case involving at least 328 transactions), with StratoComm Corp.,
89 F. Supp. 3d at 373 (awarding tier three penalties of $100,000,
$50,000 and $25,000 against three separate defendants). One way in
which the tier could be relevant here is if the Court were to treat
each of the defendants’ transactions as a distinct violation, see
SEC v. Pentagon Capital Management PLC, 725 F.3d 279, 288 n.7 (2d
Cir. 2013) (“[W]e find no error in the district court’s methodology
for calculating the maximum penalty by counting each [transaction]
as a separate violation.”), which, depending on the tier, could
quickly lead to an exorbitantly high maximum penalty. However, in
this case the defendants’ illicit profits seem an appropriate
benchmark for establishing their civil penalty. Regardless of the
tier assigned to a violation, the appropriate amount of the penalty
imposed is determined by the “particular facts and circumstances”
in each case. SEC v. Opulentic, LLC, 479 F. Supp. 2d 319, 331
(S.D.N.Y. 2007) (quoting Moran, 944 F. Supp. at 297).

                                   19
   Case 1:13-cv-02575-GBD-JCF Document 81 Filed 10/16/15 Page 20 of 24



       (1) the egregiousness of the violations at issue, (2)
       defendants’ scienter, (3) the repeated nature of the
       violations, (4) defendants’ failure to admit their
       wrongdoing; (5) whether defendants’ conduct created
       substantial losses or the risk of substantial losses to
       other persons; (6) defendants’ lack of cooperation and
       honesty with authorities, if any; and (7) whether the
       penalty that would otherwise be appropriate should be
       reduced due to defendants’ demonstrated current and
       future financial condition.

SEC v. Lybrand, 281 F. Supp. 2d 726, 730 (S.D.N.Y. 2003).                       Unlike

with disgorgement, a court may not impose a civil penalty on a

joint and several basis.          SEC v. Pentagon Capital Management PLC,

725 F.3d 279, 288 (2d Cir. 2013).                   Furthermore, the amount of

“pecuniary gain” is limited to gains received within a five-year

statute of limitations.8          SEC v. Cole, No. 12 Civ. 8167, 2014 WL

4723306, at *5 (S.D.N.Y. Sept. 22, 2014).

       Of the relevant considerations listed above, factors 1, 3, 4,

and 6 suggest that a substantial civil penalty is appropriate in

this       case.    The     defendants’    repeated        Section   15   violations

generated hundreds of millions of dollars in revenue while both

encouraging and helping customers avoid taxes.                       The Section 5

violations resulted in millions of unregistered Magnum shares being
sold in the open market.            Mr. Davis unequivocally declared his

intention      to   cease    cooperating       in   this    litigation    but   never

admitted to any wrongdoing on the part of either defendant.

(Declaration of Warren A. Davis dated April 23, 2015, attached as

Exh. 1 to Letter of Philip C. Patterson dated April 24, 2015, ¶ 5).


       8
       The SEC’s proposed penalty amounts account for the statute
of limitations by excluding gains earned prior to May 2008.
(Peters 6/11/15 Decl., ¶ 18).

                                          20
   Case 1:13-cv-02575-GBD-JCF Document 81 Filed 10/16/15 Page 21 of 24



As to the defendants’ scienter, the SEC has argued persuasively

that the defendants committed the Section 5 violations knowing of

Magnum’s illegal capital-raising scheme, but otherwise ignored the

issue.       (Pl.   Memo.   at   11).    The   SEC   has   not   attempted   to

demonstrate that the defendants’ conduct created substantial loss

or a risk thereof, although the SEC emphasizes the sheer volume of

illegal transactions.

       In light of these considerations, the SEC argues that the

amount of each defendant’s penalty should correspond to half of the

total disgorgement amount, including prejudgment interest but less

any gains generated outside the statutory period.                (Pl. Memo. at

20).       In the absence of any information as to how profits were

shared as between Gibraltar and Mr. Davis, I agree that it is

reasonable to apportion half of their combined profits to each

defendant for purposes of establishing their respective penalties.9
(Pl. Memo. at 20).      I further agree that the complaint establishes

at the very least that the defendants acted with “deliberate or

       9
         Courts  in   this   circuit   have   developed    divergent
interpretations of the statutory phrase “gross amount of pecuniary
gain to such defendant” in light of the Second Circuit’s
prohibition on joint and several liability for civil penalties. On
the one hand, one could read the statute as prohibiting the
imposition of separate civil penalties that, when combined, exceed
the total gain shared by multiple defendants.           See SEC v.
Syndicated Food Service International, Inc., No. 04 CV 1303, 2014
WL 1311442, at *26 n.22 (E.D.N.Y. March 28, 2014). On the other
hand, the statute could be construed to permit the imposition of a
civil penalty against every defendant equal to the total amount of
shared profit, so long as liability is not joint and several. See
SEC v. Amerindo Investment Advisors Inc., No. 05 Civ. 5231, 2014 WL
2112032, at *11 & n.11 (S.D.N.Y. May 6, 2014), appeal filed, No.
14-2425 (2d Cir. July 6, 2014).      Whether or not a $14 million
penalty could be imposed against each of these defendants, I do not
consider such a penalty necessary.

                                        21
   Case 1:13-cv-02575-GBD-JCF Document 81 Filed 10/16/15 Page 22 of 24



reckless disregard of a regulatory requirement,” see 15 U.S.C. §§

77t(d)(2)(B)   &   78u(d)(3)(B)(ii),     making   tier   two   penalties

appropriate.

     However, I disagree with the SEC as to the appropriate size of

the penalty in this case.     The SEC has not cited any case law to

suggest that a $7,246,024 civil penalty for each defendant is

reasonable in this case.    In light of the substantial disgorgement

and prejudgment interest award I have recommended, the “punitive

and deterrent purposes of the civil penalty statutes” can be

achieved by penalties below the maximum. SEC v. Razmilovic, 822 F.
Supp. 2d 234, 282 (E.D.N.Y. 2011)       (assessing civil penalty equal

to half of maximum possible penalty in light of other relief

granted), vacated in part on other grounds, 738 F.3d 14 (2d Cir.

2013).   I recommend that each defendant be assessed a tier two

civil penalty of $3,667,146.        This figure represents (1) the

commissions received in connection with the Section 15 violations

during the statute of limitations period ($3,448,998) (Peters

6/11/15 Decl., ¶ 21), plus (2) the total proceeds generated by the

Section 5 violations after accounting for the SEC’s double-counting
deduction ($11,043,051) (Peters 6/11/15 Decl., ¶ 25), less (3) the

$7,157,757 that the defendants wired back to Magnum (Peters 6/11/15

Decl., ¶ 23), (4) divided equally between the defendants.            This

substantial amount maintains a relationship between the penalty and

the defendants’ ill-gotten gains, see SEC v. One Wall Street, Inc.,

No. 06 CV 4217, 2008 WL 5082294, at *9 (E.D.N.Y. Nov. 26, 2008)

(noting that penalties should bear some relationship to amount of


                                   22
      Case 1:13-cv-02575-GBD-JCF Document 81 Filed 10/16/15 Page 23 of 24



ill-gotten gains and collecting cases), while                       adequately punishing

the defendants for their violations.

Conclusion

       For    the     reasons         stated   above,    I   recommend     a   judgment     be

entered against the defendants as follows:

       1.     Disgorgement  of   $14,449,176,  representing   the
              defendants' illicit profits, joint and several;

       2.     Disgorgement    of    $2,700,443,  representing
              prejudgment interest on the defendants' illicit
              profits, joint and several; and

       3.     A tier two civil penalty against each defendant in
              the amount of $3,667,146.

Pursuant to 28 U.S. C.            §    636 (b) ( 1) and Rules 72, 6 (a) , and 6 (d) of

the   Federal        Rules   of       Civil    Procedure,     the    parties    shall     have

fourteen      (14)    days from this date to file written objections to

this Report and Recommendation.                       Such objections shall be filed

with the Clerk of the Court,                   with extra copies delivered to the

chambers of the Honorable George B. Daniels, Room 1310, 500 Pearl

Street,      New York,       New York          10007,   and to      the   chambers   of    the

undersigned, Room 1960, 500 Pearl Street, New York, New York 10007.

Failure to file timely objections will preclude appellate review.



                                        Respectfully submitted,




                                          ITED STATES MAGISTRATE JUDGE



Dated:        New York, New York
              October 16, 2015

                                                 23
   Case 1:13-cv-02575-GBD-JCF Document 81 Filed 10/16/15 Page 24 of 24



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                                   24
